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               Exhibit 16
SIMO HOLDINGS
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                   UCLOUDLINK                  PLAINTIFF'S TRIAL EXHIBIT NO. 262
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                                  ONE WORLD, CONNECTED

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                                   REQUEST FOR PROPOSAL


                        MINO Mobile Development Project "Hermes"

                                      Project Number: 2007-08

                                                October, 2007




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          Summary

          MINO Wireless USA, Inc. is in the business of providing global enterprises' international
          mobile calling and management services. Our product works on mobile phones
          (Blackberry and Windows Mobile) which enable users to make international phone calls
          through our network.

          MINO continues to enhance our product offerings by creating advance development in
          R&D . We are currently working on several projects from handset technology to
          server/networking projects. This RFP is created to work with specialize experts in the
          field to help us accomplish R&D objectives.


          Proposal Guidelines and Requirements

          This is an open and competitive process. If you wish to submit alternate solutions, please
          do SO .

          The price you quote should be inclusive. If your price excludes certain fees or charges,
          you must provide a detailed list of excluded fees with a complete explanation of the
          nature of those fees .

          If the execution of work to be performed by your company requires the hiring of sub-
          contractors you must clearly state this in your proposal. Sub-contractors must be
          identified and the work they will perform must be defined. In your proposal please
          provide ·the name, address, and EIN of the sub-contractor.


          Contract Terms

          MINO will negotiate contract terms upon selection. All contracts are subject to review
          by :MINO' s legal counsel , and a project will be awarded upon signing of an agreement or
          contract, which outlines terms, scope, budget and other necessary items.


          Purpose
          Project 2007-08 is to implement Connection Manager (CM) in mobile handset where
          multiple radios, either dual cellular radios or one cellular radio and one Wi-Fi are
          available. Connection Manager will determine and enable appropriate channel for
          different usages, such as data and voice applications.




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           Functional Description
           The functional requirement of Connection Manager is summarized as below:
              1. Manage network connection per application logic from MINO
                      a. Mobile Device Type 1: Dual SIM card capable of accessing dual radios
                          simultaneously
                               i. Select one SIM to access data service, such as GPRS, EDGE, or
                                   HSDPA
                              ii . Use the other SIM to make phone call
                      b. Mobile Device Type 2: Single SIM Card with Wi-Fi
                               i. Maintain data connection using Wi-Fi
                              ii . Use GSM for voice call
              2. Monitor network or connection status and notify application
                      a. Detect the device location based on
                               i. Cellular network information such as (MNC, MCC)
                      b. Monitor & report connection status and signaling to high layer application
                          for action

                                        MINO   Application




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           Requirement
           The high level requirements for the Connection Manager (CM) are listed as follow:
              1. CM should run as device is powered up by defau lt
              2. CM should have interface to receive commands from other application
                      a. Specify particular channel for data or voice
                      b. More commands are opened for discussion

              3. CM should have interface to report network connection information
              4. CM should have logging capability for debugging purpose
                   a. The logging message should be stored at a text file located in a designated
                       directory per configuration

          Development environment can be the following :




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              1. Any OS for mobile device


          Time lines

          Proposals are due no later than November 511\ 2007.

          Proposals wi ll be evaluated immediately thereafter. During this time we may require
          interviews or conference calls to go over the proposal and Q&A.




          Pricing

          Please provide several cost proposals to accomplish the scope outlined below.

          List pricing for :

          Phase I: Design Document

          Phase II: Development & Testing




          Deliverable

          We expect that the result of the project will produce the following items.
             1. Workable object code that can run in the designed OS
            2. Design Document
                    a. Functional Design
                    b. Software Architecture
                    c. Unit Test Cases
            3. Release Notes
            4. Working Code
                    a. All Source Codes including unit test codes
                    b. Build Requirements
                    c. Recommended Tools




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